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  Mock Decl.       Mock Pre-Election Statement to UAW Members (Summer
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  Mock Decl.       Monitor Letter to UAW re Investigation (February 29, 2024)
  Ex. 2

  Mock Decl.       Mock Ethical Practices Code Complaint (April 14, 2024)
  Ex. 3

  Mock Decl.       Abeyance Letter from UAW President’s Office to counsel for
  Ex. 4            Mock (April 16, 2024)


  Mock Decl.       Abeyance Letter from UAW President’s Office to Mock (June
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  Mock Dec.        Abeyance Letter from UAW President’s Office to counsel for
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  Certificate of Service
